414 Hulmeville Ave                                                          Tel: (215) 750-3134
Penndel, PA 19047                                                           Fax: (215) 750-3138
https://kolmanlaw.com                                              Client_Care@KolmanLaw.com



                                         October 11, 2022



Sent via ECF and E-Mail
Honorable Judge Gallagher



       Re.:    Amor et al vs. Conover
               Civil Action No: 21-cv-05574-JMG


Dear Honorable Judge Gallagher:

       We respond to Defendant's blithe comment that Dr. Amor is 'widely recognized as a public

figure and is treated as such.' Plaintiffs have been tolerant of Ms. Conover's failure to school

herself in the law and apply it, in addition to her unrestrained creation of' facts that do not exist

and cannot be proven.

       Defendant regularly makes sweeping, unfounded statements as if they are a fait

accompli. Her latest correspondence to the Court is such an example. Ms. Conover's creation of

public controversy is entirely from the Plaintiffs' defamation suit, something the law does not

permit. Plaintiffs have not inserted themselves into a public controversy because no "public

controversy' pre-existed. Plaintiffs' defamation suit

       Defendant continually assures the Court that her evidence says this-or her evidence says

that-without ever producing such evidence. Her latest letter is another example of the same. Now

Defendant states that Dr. Amor interferes with the independent acts when there is no 'evidence' he
does any such thing. There is no evidence that Dr. Amor has fired at least three of her witnesses.

Defendant has failed to establish whether Dr. Amor had the right or authority to fire anyone.

         Although having had ample opportunity, Defendant has not come close to sustaining her

burden that the Plaintiffs should be regarded as limited-purpose public figures.

         Her motion should be denied, as previously argued.

         Also, during the preparation for trial we have found duplicate Exhibits on the part of the

Defendant causing total confusion. When I referred to “Duplicate Exhibits”, an example of this is

Exhibit B. Defendant has theses various documents marked as Exhibit B:

         1. A notarized Affidavit of Samantha Snow.

         2. A notarized Gmail from James Amor to Brianna Kube notifying her that a contract

              would not be offered for the 2022 season.

         3. A typed Questionnaire for Brianne Kube which is notarized; and

         4. Exhibit B marked as “Communications/Emails with Shawn Howland, former Cast

              member of the Pittsburgh Renaissance Festival”


         I understand that the Defendant chose to represent herself Pro Se, however she still has the

responsibility, as your Honor has explained to the Defendant previously, that Court has rules and

guidelines. Defendant Conover also express when she stated she was going to pursue this matter

Pro Se that she did have an attorney to give her guidance and direction.

         Our office staff has been providing information and links to the Defendant to assist her

with the various procedures such as Subpoenas, how to set up depositions and the requirements

of depositions and Honors your Policies and Procedure Guidelines. We understand the difficulty

that she has undertaken, however we are on the eve of trial and lack of clarity of what the


   (T) 215-750-3134       (F) 215-750-3138 414 HULMEVILLE AVENUE, PENNDEL, PA 19047

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Defendant is using as exhibits at trial is prejudicial to the Plaintiffs. Plaintiffs cannot properly

prepare their witnesses, and neither can they be assured that the disk they will be filing with the

Court is an accurate reflection of Ms. Conover’s Exhibits. Ms. Conover represented that she

would send us a complete list this evening. However, as of the time of writing we have not

received anything to my knowledge. I have no doubt the Court understands this situation makes

it difficult for the Plaintiff to prepare the disk for the Court

         Thank you in advance for you time, attention, and handling of these matters. Should you

have any questions or need discussion, it may be something that can be handled after jury

selection.


                                                Respectfully,

                                                KOLMAN LAW, P.C.


                                                Timothy M. Kolman
                                                Timothy M. Kolman, Esquire


TMK/sds




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